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     Attorney for Defendant,
 5   LAIMIRO BOBADILLA
 6

 7                           IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                     ) CR. No. 1:18-CR-00156-DAD-BAM
10                                                 )
                                                   ) STIPULATION AND ORDER FOR
11                            Plaintiff,           ) CONTINUANCE OF SENTENCING
                                                   )
12   vs.                                           )
                                                   )
13
     LAIMIRO BOBADILLA,                            )
                                                   )
14                                                 )
                            Defendant.             )
15                                                 )
                                                   )
16                                                 )
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19           Defendant, LAIMIRO BOBADILLA, through his attorney ROBERT L. FORKNER,
20
     together with the United States of America through its undersigned counsel, VINCENZA
21
     RABENN, Assistant United States Attorney, hereby stipulate and request the following:
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23
             1.    That the Court continue the sentencing hearing in the above-captioned case from

24   January 15, 2020, to March 9, 2020, at 10:00 a.m.
25           2.    Due to a conflict in calendars between defense counsel and the U.S. Probation
26
     officer, Mr. Bobadilla was unable to be interviewed for the presentencing report until December
27
     2nd.
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            3.      A continuance is requested to allow U.S. probation Officer Megan Pascual
 1

 2   sufficient time to prepare the Pre-Sentence report and allow defense counsel time to review the

 3   report with Mr. Bobadilla; to answer his questions, research, and investigate possible defense
 4
     before the currently scheduled sentencing date. The government and probation officer have no
 5
     objections to the new date.
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 7
            For these reasons, the parties stipulate and request that the Court exclude time in which

 8   the trial must commence under the Speedy Trial Act from January 15, 2020 through March 9,
 9   2020, for defense preparation under 18 U.S.C. § 3161 (h) (8) (B) (ii) and (iv).
10

11
     IT IS SO STIPULATED.

12

13
     Dated: December 6, 2019                               /s/ Robert L. Forkner
                                                           ROBERT L. FORKNER
14                                                         Attorney for Defendant
                                                           LAIMIRO BOBADILLA
15

16   Dated: December 6, 2019                               McGREGOR W. SCOTT
                                                           United States Attorney
17
                                                           by: /s/ Vincenza Rabenn
18
                                                           Vincenza Rabenn
19                                                         Assistant U.S. Attorney

20
                                                  ORDER
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22
                    Good cause appearing, the sentencing hearing as to the above-named defendant
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     currently scheduled for January 15, 2020, is continued to March 9, 2020, at 10 am.
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     IT IS SO ORDERED.
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26      Dated:     December 6, 2019
                                                       UNITED STATES DISTRICT JUDGE
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